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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE
EASTERN DIVISION

 

PEGGY HICKS, Individually, and )
PEGGY HICKS, as the Spouse and )
Administratrix of the Estate of )
DWIGHT HICKS, )
}
Plaintiff, )
)

v. ) NO.: 03-1324-An
)
OTHA R. WHITAKER and )
LANDSTAR RANGER, INC., )
)
Defendants. )

 

ANIENDED RULE 16(b) SCHEDULING ()RDER

 

Pursuant to the scheduling conference held on June 17, 2005 , the following dates were
established as the final dates for:

FILING DISPOSITIVE MOTIONS: September 9, 2005

FINAL LISTS ()F WITNESSES AND EXHIBITS (Rule 26(a)(3)):

(a) for Plaintiff: October 3, 2005
(b) for Defendant: October 10, 2005

Parties shall have 10 days after service of final lists of Witnesses and exhibits to file
objections under Rule 26(a)(3).

The trial of this matter is expected to last 2 days and is SET for .IURY TRIAL on
MONDAY, OCTOBER 31, 2005 at 9:30 A.M.. A joint pretrial order is due on FRIDAY,
OCTOBER 21, 2005. ln the event the parties are unable to agree on a joint pretrial order, the
parties must notify the court at least ten days before trial.

Thls document entered on the docket she l com liance
with aura 58 and,'or,?s (a) FRCP on 9

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OTHER RELEVANT MA'I`TERS:

Interrogatories, Requests for Production and Requests for Admissions must be submitted
to the opposing party in sufficient time for the opposing party to respond by the deadline for
completion of discovery. For example, if the FED. R. CIV. P. allow 30 days for a party to
respond, then the discovery must be submitted at least 30 days prior to the deadline for
completion of discovery.

Motions to compel discovery are to be filed and served by the discovery deadline or
within 30 days of the default or service of the response, answer, or objection which is the subject
of the motion if the default occurs within 30 days of the discovery deadline, unless the time for
filing of such motion is extended for good cause shown, or any objection to the default7 response,
or answer shall be waived.

The parties are reminded that pursuant to Local Rule 7(a)(l)(A) and (a)(l)(B), all
motions, except motions pursuant to FED. R. CIV. P. 12, 56, 59, and 60, shall be accompanied by
a proposed Order and a Certificate of Consultation.

The opposing party may file a response to any motion filed in this matter. Neither party
may file an additional reply, however, without leave of the court. If a party believes that a reply
is necessary, it shall file a motion for leave to file a reply accompanied by a memorandum setting
forth the reasons for which a reply is required

At this time, the parties have not given consideration to Whether they wish to consent to
trial before the magistrate judge. The parties will file a written consent form with the court
should they decide to proceed before the magistrate judge.

The parties are encouraged to engage in court-annexed attorney mediation or private
mediation on or before the close of discoverv.

This order has been entered after consultation with trial counsel pursuant to notice.
Absent good cause shown, the scheduling dates set by this Order will not be modified or
extended

IT IS SO ORDERED.

Cg.%#: @,J

S. THOMAS ANDERSON
UNTTED STATES MAGISTRATE JUDGE

Date: ~ a?O/. ZQJ.§/

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UNITED STATES DISTRICT COURT - WESTERN DISTRICT OF TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 21 in
case 1:03-CV-01324 was distributed by faX, mail, or direct printing on
June 20, 2005 to the parties listed.

 

 

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Honorable S. Anderson
US DISTRICT COURT

